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                             United States District Court
                              Western District of Texas
                              Midland/Odessa Division

   State of Texas
        Plaintiff,

   v.

   Xavier Becerra, in his official capacity
   as Secretary of Health and Human Services;                No. 7:23-cv-00022-DC
   United States Department of
   Health and Human Services;
   United States Department of
   Health and Human Services
   Office for Civil Rights,
          Defendants.


                         State of Texas’s Original Complaint

        The Biden Administration has repeatedly attempted to impose through executive fiat a

federal right to abortion that does not exist. In the Administration’s war against Dobbs v. Jackson

Women’s Health, Defendants have issued a “guidance” document and associated press release

that, if allowed to remain effective, require pharmacies to dispense abortion-inducing drugs in

violation of State law (collectively, the “Pharmacy Mandate”)—purportedly as a condition of

receiving Medicare and Medicaid funds.

        But whether the Biden Administration likes it or not, the question of abortion is up to the

people’s elected representatives—not unelected bureaucrats. The Biden Administration’s

attempt to inject itself into that question is both procedurally and substantively illegal. The

Pharmacy Mandate was adopted without following the required procedures. It misrepresents
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federal law. It usurps pharmacies’ duty to comply with Texas law. It misconstrues and violates the

Spending Clause. By any measure, the Pharmacy Mandate is improper.

       The Court should vacate the Pharmacy Guidance, set it aside, and enjoin the Defendants’

enforcement of it.

                                            I. PARTIES

1.     Plaintiff the State of Texas is a sovereign State of the United States.

2.     Defendant Xavier Becerra is Secretary of the United States Department of Health and

Human Services (HHS). He is sued in his official capacity.

3.     Defendant HHS is a cabinet-level executive branch department of the United States.

4.     Defendant Department of Health and Human Services Office for Civil Rights (OCR) is a

division of HHS.

                                   II. JURISDICTION & VENUE

5.     This Court has jurisdiction under 5 U.S.C. §§ 702 and 703 and 28 U.S.C. §§ 1331, 1346,

and 1361.

6.     The Court is authorized to award the requested declaratory and injunctive relief under

5 U.S.C. §§ 702 and 706 and 28 U.S.C. §§ 1361, 2201, and 2202.

7.     Venue is proper in this District under 28 U.S.C. § 1391.




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                                         III. BACKGROUND

A. The Biden Administration’s Response to Dobbs

8.      On June 24, 2022, the Supreme Court of the United States overturned Roe v. Wade, 410

U.S. 113 (1973), and Planned Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833

(1992). Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2242 (2022). The Supreme Court

held that “the Constitution does not confer a right to abortion” and “does not prohibit the citizens

of each State from regulating or prohibiting abortion.” Id. at 2279, 2284.

9.      The Biden Administration’s attempt to nullify Dobbs began that very day when President

Biden held a press conference and announced that “[t]he only way we can secure a woman’s right

to choose and the balance that existed is for Congress to restore the protections of Roe v. Wade as

federal law.” 1

10.     The Administration’s nullification effort continued with a statement from Attorney

General Merrick Garland that misinterpreted federal law. Garland stated, “States may not ban

Mifepristone”—a drug also known as RU 486 that can be used to cause an abortion during the

early part of a pregnancy—“based on disagreement with the FDA’s expert judgment.”2 In fact,

Dobbs’s holding that “[t]he Constitution does not prohibit the citizens of each State from

regulating or prohibiting abortion,” 142 S. Ct. at 2284, permits states to ban abortions even when

induced through the use of Mifepristone.


1
 Remarks by Pres. Biden on the Supreme Court Decision to Overturn Roe v. Wade, The White House (June 24,
2022),         https://www.whitehouse.gov/briefing-room/speeches-remarks/2022/06/24/remarks-by-
president-biden-on-the-supreme-court-decision-to-overturn-roe-v-wade/ (last visited Feb. 6, 2023).

2
 Atty. Gen. Merrick B. Garland Stmt. on Supreme Court Ruling in Dobbs v. Jackson Women’s Health Org.,
Dept. of Justice, https://www.justice.gov/opa/pr/attorney-general-merrick-b-garland-statement-
supreme-court-ruling-dobbs-v-jackson-women-s (last visited Feb. 6, 2023).



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11.        The next day, Defendant Secretary Becerra stated in an interview that Americans “can no

longer trust” the Supreme Court. 3 When asked what he was doing “in response to the Court’s

decision,” Beccera responded, “we have no right to do mild. And so we’re going to be aggressive

and go all the way.” 4

12.        On July 8, 2022, President Biden issued Executive Order 14,076, titled “Protecting Access

to Reproductive Healthcare Services.” 87 Fed. Reg. 42053 (2022). Among other things, that

Order required Becerra to submit a report to the President “identifying potential actions: (A) to

protect and expand access to abortion care, including medication abortion; and (B) to otherwise

protect and expand access to the full range of reproductive healthcare services, including actions

to enhance family planning services such as access to emergency contraception.” Id. at 42053–54.

13.        In response to President Biden’s Executive Order, federal officials and agencies

promulgated several mandates relating to the provision of abortions and abortion-inducing drugs.

14.        The Administration opened one front of its war on Dobbs on July 11, 2022, when HHS

promulgated an Abortion Mandate contorting the Emergency Medical Treatment and Labor Act

into a directive that hospitals and emergency-medicine physicians perform abortions as a condition

of receiving Medicaid and Medicare funds.5 While a district court has enjoined enforcement of




3
 HHS Secy. Becerra talks women’s future with abortion following Roe v. Wade decision (NBC News broadcast
June 25, 2022), https://www.nbcnews.com/video/women-s-future-with-abortion-implementing-harm-
reduction-with-addiction-142836293922, at 1:45 (last visited Feb. 6, 2023).

4
    Id. at 2:19, 2:59.

5
 Reinforcement of EMTALA Obligations specific to Patients who are Pregnant or are Experiencing Pregnancy Loss,
Ctrs. for Medicare & Medicaid Servs. (July 11, 2022), https://www.cms.gov/files/document/qso-22-22-
hospitals.pdf (last visited Feb. 6, 2023) (Exh. 3).



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that diktat in Texas, 6 the Administration has made clear that it is fighting a hot war: it is suing the

State of Idaho to obtain a declaration that a federal anti-patient-dumping statute somehow

overrides duly-enacted state abortion restrictions. 7

15.       Just two days later, the Biden Administration opened yet another front in its war on Dobbs:

the Pharmacy Mandate. The Defendants issued a press release 8 and a document titled, “Guidance

to the Nation’s Retail Pharmacies Clarifying Their Obligations to Ensure Access to

Comprehensive Reproductive Health Care Services the Pharmacy Mandate” (together,

“Pharmacy Mandate”). 9 The Mandate purports to require pharmacies that receive Medicare and

Medicaid payments to stock and dispense abortifacients for elective abortion purposes. It threatens

legal action against those pharmacies and pharmacists that do not.

B. The Pharmacy Mandate

16.       The Pharmacy Mandate stipulates that “as recipients of federal financial assistance,

including Medicare and Medicaid payments, pharmacies are prohibited under law from

discriminating based on race, color, national origin, sex, age, and disability in their programs and

activities. This includes supplying prescribed medications; making determinations regarding the




6
    Texas v. Becerra, No. 5:22-cv-185-H (N.D. Tex.) (Jan. 13, 2023).

7
    United States v. Idaho, No. 1:22-CV-329, Dkt. No. 1 (D. Idaho, Aug. 2, 2022).

8
  HHS Issues Guidance to the Nation’s Retail Pharmacies Clarifying Their Obligations to Ensure Access to
Comprehensive Reproductive Health Care Services, HHS, https://www.hhs.gov/about/news/2022/
07/13/hhs-issues-guidance-nations-retail-pharmacies-clarifying-their-obligations-ensure-access-
comprehensive-reproductive-health-care-services.html (last visited Feb. 6, 2023) (Exh. 1).

9
  Guidance to Nation’s Retail Pharmacies: Obligations Under Fed. Civil Rights Laws to Ensure Access to
Comprehensive Reproductive Health Care Servs., https://www.hhs.gov/sites/default/files/pharmacies-
guidance.pdf (last visited Feb. 6, 2023) (Exh. 2).



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suitability of prescribed medications for a patient; and advising a patient about prescribed

medications and how to take them.” 10

17.        The Pharmacy Mandate requires pharmacies to dispense abortifacients as a condition of

receiving Medicare and Medicaid payments by threatening pharmacies with legal action. 11

18.        The Pharmacy Mandate asserts that “discrimination against pregnant [women] on the

basis of their pregnancy or related conditions (examples below) is a form of sex discrimination. . . .

Under federal civil rights law, pregnancy discrimination includes discrimination based on current

pregnancy, past pregnancy, potential or intended pregnancy, and medical conditions related to

pregnancy or childbirth.” 12

19.        Citing Section 1557 of the Affordable Care Act (ACA), 42 U.S.C. § 18116, and its

implementing regulation, 45 C.F.R. part 92, the Pharmacy Mandate threatens enforcement actions

under Title VI of the Civil Rights Act of 1964, Title IX of the Education Amendments of 1972, the

Age Discrimination Act of 197, and Section 504 of the Rehabilitation Act of 1973. 13

20.        None of those statutes address pregnancy discrimination. Nor do the ACA’s implementing

regulations. And, indeed, the Defendants know this. In August 2022, they issued a notice of

proposed rulemaking that would amend the agency’s interpretation of Section 1557 to include a

prohibition against pregnancy discrimination. 87 Fed. Reg. 47,824 (Aug. 4, 2022).




10
     Exh. 1 at 2.

11
     Id.; Exh. 2.

12
     Exh. 2 at 3–4.

13
     Id. at 2; Ex. 1; see also 45 C.F.R. part 92.



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21.        And that isn’t the only direct conflict between the Pharmacy Mandate and the statute it

misinterprets. Indeed, the ACA includes language specifically rejecting the Pharmacy Mandate’s

interpretation:

            No Preemption of State Laws Regarding Abortion

            Nothing in this Act shall be construed to preempt or otherwise have any effect
            on State laws regarding the prohibition of (or requirement of) coverage, funding,
            or procedural requirements on abortions.

42 U.S.C. § 18023(c)(1).

22.        The Pharmacy Mandate directly contradicts Title IX, too. Title IX specifically prohibits

persons and entities from being required to “provide or pay for any benefit or service, including

the use of facilities, related to an abortion.” 20 U.S.C. § 1688. And as with the ACA, the

Defendants know that Title IX does not address pregnancy discrimination: In June, the

Department of Education issued a notice of proposed rulemaking that would “[a]rticulate [its]

understanding that sex discrimination [as used in the statutory text of Title IX] includes

discrimination on the basis of . . . pregnancy or related conditions.” 14

23.        The Pharmacy Mandate also conflicts with the Hyde Amendment, which prohibits use of

federal dollars to fund abortions except when the pregnancy is the result of rape or incest, or if the

woman’s life is in danger. Consolidated Appropriations Act, 2022, Pub. L. No. 117-103, Div. H.,

Tit. V, §§ 506–07. By conditioning pharmacies’ receipt of federal funds on their dispensing of

abortion-inducing drugs, Defendants’ Pharmacy Mandate uses federal dollars to fund abortions




14
     87 Fed. Reg. 41391 (July 12, 2022); id. at 41391 n.1.



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outside the allowable scope of the Hyde Amendment. Consolidated Appropriations Act, 2022,

Pub. L. No. 117-103, Div. H., Tit. V, §§ 506–07.

C. Texas Abortion Laws

      1. Human Life Protection Act

24.      Under Texas’s Human Life Protection Act, “[a] person may not knowingly perform,

induce, or attempt an abortion.” Act of May 25, 2021, 87th Leg., R.S., ch. 800, 2021 Tex. Sess.

Law Serv. 1887 (H.B. 1280) (codified at Tex. Health & Safety Code Ch. 170A). That prohibition

does not apply if the woman on whom the abortion is performed “has a life-threatening physical

condition” arising from a pregnancy that places her “at risk of death or poses a serious risk of

substantial impairment of a major bodily function unless the abortion is performed.” H.B. 1280 at

§ 2 (codified at Tex. Health & Safety Code § 170A.002(b)(2)). The potential criminal penalty for

violating this law is anywhere from two years to life in prison and a civil penalty not less than

$100,000. Id. (codified at Tex. Health & Safety Code §§ 170A.004–.005); Tex. Penal Code

§§ 12.32–.33.

      2. Pre-Roe Criminal Statutes

25.      In addition to the Human Life Protection Act, Texas statutes predating Roe also address

the subject of abortion. See TEX. REV. CIV. STAT. arts. 4512.1–.4, .6. (former TEX. PENAL CODE

arts. 1191–1194, 1196 (1925)). Under those statutes, any person who causes an abortion is guilty

of an offense and shall be confined in a penitentiary. Id. at 4512.1. Moreover, an individual may not

act as an accomplice to abortion or an attempted abortion. Id. at 4512.2–.3. However, it is not an

offense if the abortion is performed under “medical advice for the purpose of saving the life of the

mother.” Id. at 4512.6.




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26.    Texas never repealed these statutes. See Act of May 25, 1973, 63rd Leg., R.S., ch. 399,

§ 5(a), 1973 Tex. Gen. Laws 883, 995 (“provid[ing] for the transfer of articles of the Penal Code

of Texas, 1925, which are not repealed by this Act to the civil statutes or other appropriate places

within the framework of Texas statute law, without reenactment and without altering the meaning

or effect of the unrepealed articles.”). They therefore remain current law. See Pidgeon v. Turner,

538 S.W.3d 73, 88 n.21 (Tex. 2017) (“When a court declares a law unconstitutional, the law

remains in place unless and until the body that enacted it repeals it, even though the government

may no longer constitutionally enforce it.”).

D. The Effects of the Pharmacy Mandate in Texas

27.    Texas is injured because the Pharmacy Mandate purports to preempt its laws by requiring

pharmacies to stock and dispense abortifacients even if doing so would violate State law. This

violates Texas’s “sovereign interest in the power to create and enforce a legal code.” Texas v.

United States, 809 F.3d 134, 153 (5th Cir. 2015) (quotation omitted).

28.    By requiring pharmacies that receive Medicare and Medicaid funds—including retail

pharmacies operated by Texas Tech University Health Sciences Center—to dispense

abortifacients when the life of the mother is not in danger, the Pharmacy Mandate flouts Dobbs’s

holding that States may regulate abortion and directly infringes on Texas’s sovereign and quasi-

sovereign authority. See Declaration of Eric Bentley (Exhibit 4).

29.    Compliance with State laws and regulations is an operational requirement for Texas

pharmacies. 22 Tex. Admin. Code § 291.123(c)(3)(C)(iii); Id. § 291.153 (d)(1)(A)(i)(II). Texas

pharmacists are required to abide by State laws governing the practice of pharmacy. See, e.g., 22

Tex. Admin. Code § 295.3; Tex. Occ. Code § 565.001(a)(12). That requirement includes



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compliance with Texas’s abortion laws. Moreover, subject to limited exceptions, Texas law

prohibits a person from “knowingly provi[ding] an abortion-inducing drug to a pregnant woman

for the purpose of inducing an abortion.” Tex. Health & Safety Code § 171.063.

30.    Further, were it legal, the Pharmacy Mandate would require pharmacists to dispense

abortifacients even if doing so would violate their professional judgment. Such a requirement

violates Texas law, under which “a pharmacist has the exclusive authority to determine whether

or not to dispense a drug.” Tex. Occ. Code § 551.006.

31.    Texas Tech University Health Sciences Center operates retail pharmacies that receive

federal funds through Medicare and Medicaid. The Pharmacy Mandate requires Texas Tech to

choose between violating State law or jeopardizing its ability to participate in Medicare and

Medicaid. See Exhibit 4.

                                     IV. CLAIMS FOR RELIEF

   COUNT 1: The Pharmacy Mandate Exceeds Statutory Authority and Is Not in
                   Accordance with Law (5 U.S.C. §706)

32.    The Pharmacy Mandate is being “applied . . . in a way that indicates it is binding.” Texas

v. EEOC, 933 F.3d 433, 441 (5th Cir. 2019). Therefore, it is a final agency action subject to judicial

review under the APA.

33.    Under the APA, a court must “hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” or “in

excess of statutory . . . authority, or limitations, or short of statutory right.” See 5 U.S.C.

§ 706(2)(A), (C).




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34.       The Pharmacy Mandate attempts to impose a legal duty on Texas pharmacies and

pharmacists to dispense abortifacients. Defendants have no authority to impose such a duty, much

less when it would violate State law.

35.       Whether Defendants possess the political and constitutional authority they claim is a major

question of “deep economic and political significance” that Courts will not assume that Congress

has assigned to the Executive Branch. See King v. Burwell, 576 U.S. 473, 486 (2015) (quotation

marks omitted); FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 160 (2000). “We

presume that Congress intends to make major policy decisions itself, not leave those decisions to

agencies.” W. Va. v. Envtl. Prot. Agency, 142 S. Ct. 2587, 2609 (2022) (internal quotations

omitted). An attempt to overrule state abortion laws by attaching strings to Medicaid and Medicare

funding is a sizeable elephant; HHS’s claim to have found it in a mousehole that both the ACA and

Title IX disclaim exists demands scrutiny. Cf. Whitman v. Am. Trucking Assns., 531 U.S. 457, 468

(2001).

                 Count 1(A): The Pharmacy Mandate conflicts with federal law.

36.       The Pharmacy Mandate conflicts with the ACA—the statute Defendants contend

purportedly authorizes this mandate. The ACA provides:

           No Preemption of State Laws Regarding Abortion

           Nothing in this Act shall be construed to preempt or otherwise have any effect
           on State laws regarding the prohibition of (or requirement of) coverage, funding,
           or procedural requirements on abortions.

42 U.S.C. § 18023(c)(1).

37.       The Pharmacy Mandate conflicts with Title IX. Title IX does not protect against pregnancy

discrimination, and it specifically prohibits requiring persons or entities to assist or participate in




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the provision of an abortion. 20 U.S.C. §§ 1681, 1688. Nevertheless, the Pharmacy Mandate

asserts that “discrimination against pregnant people on the basis of their pregnancy or related

conditions . . . is a form of sex discrimination.” 15 That is not the law under Title IX—or any of the

other statutes incorporated by reference in Section 1557 of the ACA.

38.        HHS cannot amend the statutes through agency rulemaking.

39.        None of the statutes incorporated by reference in Section 1557 concern pregnancy

discrimination. The Defendants know this and nevertheless state in the Pharmacy Mandate that

“discrimination against pregnant people on the basis of their pregnancy or related conditions . . .

is a form of sex discrimination.” 16 Even if they could amend those statutes through agency

rulemaking to make this true, they have not. Accordingly, the Pharmacy Mandate is a new

legislative rule that alters pharmacies’ legal obligations. See Truckers United for Safety v. Fed.

Highway Admin., 139 F.3d 934 (D.C. Cir. 1998).

40.        The Pharmacy Mandate also conflicts with the Hyde Amendment, which prohibits federal

dollars from being used to fund abortions except when the pregnancy is the result of rape or incest,

or if the woman’s life is in danger. Consolidated Appropriations Act, 2022, Pub. L. No. 117-103,

Div. H., Tit. V, §§ 506–07. By conditioning pharmacies’ receipt of federal funds on their

dispensing abortion-inducing drugs, Defendants’ Pharmacy Mandate uses federal dollars to fund

abortions outside the allowable scope of the Hyde Amendment. Consolidated Appropriations Act,

2022, Pub. L. No. 117-103, Div. H., Tit. V, §§ 506–07.




15
     Exh. 2 at 3.
16
     Id.



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41.    The Department of Justice’s (DOJ) appropriation act prevents it from using any funds to

“require any person to perform, or facilitate in any way the performance of, any abortion.”

Consolidated Appropriations Act of 2022, Pub. L. 117-103, 136 Stat. 131, Div. B., Tit. II, § 203.

DOJ’s defense of the Pharmacy Mandate would necessarily spend federal funds to facilitate

abortions.

Count 1(B): The Pharmacy Mandate is an unconstitutional exercise of the Spending Power

42.    The Pharmacy Mandate is an unconstitutional exercise of the Spending Clause power.

43.    The Affordable Care Act does not condition—let alone unambiguously condition—the

receipt of federal funds on providing abortifacients. On the contrary, it specifically provides that it

does not preempt State abortion laws. 42 U.S.C. § 18023(c)(1).

44.    “[I]f Congress intends to impose a condition on the grant of federal moneys, it must do so

unambiguously” so “States [can] exercise their choice knowingly.” Pennhurst State Sch. & Hosp.

v. Halderman, 451 U.S. 1, 17 (1981). It must give “clear notice to the States that they, by accepting

funds under the Act, would indeed be obligated to comply” with conditions in the Act. Id. at 25.

45.    The executive branch cannot impose conditions on States’ spending of federal monies if

the Constitution would prohibit it from imposing those conditions directly on the States.

46.    Because the federal government cannot force Texas to require that pharmacies dispense

abortifacients, the Pharmacy Mandate’s attempt to do so as a condition of funding is an

unconstitutional exercise of Spending Power, U.S. Const. art. I, § 8, cl. 1, and must be enjoined.

See 5 U.S.C. § 706(A), (c).

47.    Defendants did not act in accordance with the law and exceeded their statutory authority

when they issued the Pharmacy Mandate.




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         COUNT 2: Failure to Conduct Notice and Comment (5 U.S.C. § 553)

48.     Defendants must comply with the APA’s notice-and-comment requirements before

promulgating a rule. 5 U.S.C. § 553.

49.     Subject to certain exceptions not relevant here, a “[g]eneral notice of proposed rulemaking

shall be published in the Federal Register.” 5 U.S.C. § 553(b). “After notice required by this

section, the agency shall give interested persons an opportunity to participate in the rule making

through submission of written data, views, or arguments.” 5 U.S.C. § 553(c). “The required

publications or service of a substantive rule shall be made not less than 30 days before its effective

date [with applicable exceptions].” 5 U.S.C. § 553(d).

50.     The Pharmacy Mandate substantively changes the conditions for payment for services by

requiring pharmacies that receive federal funds to dispense abortifacients, notwithstanding their

obligations under Texas law. Accordingly, Defendants were required to provide an opportunity for

public notice and comment.

51.     Even if Defendants were authorized by statute to promulgate the Pharmacy Mandate,

which they are not, the Court would still have to set it aside for failure to comply with the notice-

and-comment requirements. “The reviewing court shall hold unlawful and set aside agency action,

findings, and conclusions found to be without observance of procedure required by law.” 5 U.S.C.

§ 706(2)(D).

      COUNT 3: Arbitrary and Capricious Agency Action (5 U.S.C. § 706(2)(A))

52.     An agency rule is “arbitrary and capricious if the agency has relied on factors which

Congress has not intended it to consider, entirely failed to consider an important aspect of the

problem, offered an explanation for its decision that runs counter to the evidence before the



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agency, or is so implausible that it could not be ascribed to a difference in view or the product of

agency expertise.” Motor Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.

29, 43 (1983).

53.        “[A]gency action” is “the whole or a part of an agency rule, order, license, sanction, relief,

or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13). An agency “rule” is “the

whole or a part of an agency statement or general or particular applicability and future effect

designed to implement, interpret, or prescribe law or policy or describing the organization,

procedure, or practice requirements of an agency.” Id. at § 551(4).

54.        An agency action is arbitrary or capricious if it fails to “articulate a satisfactory explanation

for its action including a rational connection between the facts found and the choice made.” State

Farm, 463 U.S. at 43. Under the APA, a court must “hold unlawful and set aside agency action”

that is “arbitrary and capricious.” 5 U.S.C. § 706(2)(A).

55.        Defendants did not engage in reasoned decision-making, but instead acted arbitrarily and

capriciously, in issuing the Pharmacy Mandate.

56.        The Pharmacy Mandate was issued in response to the President’s Executive Order to

counteract the effects of Dobbs—not as a result of reasoned decision-making. 17 Mere executive fiat

falls well short of the requirements of a “satisfactory explanation.”

57.        The Pharmacy Mandate is arbitrary and capricious and must be set aside.




17
     See Exh. 1; Exh. 2.



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                             DECLARATORY JUDGMENT

58.      The Declaratory Judgment Act authorizes federal courts to declare the rights of litigants.

28 U.S.C. § 2201. The issuance of a declaratory judgment can serve as the basis for an injunction

to give effect to the declaratory judgment. Steffel v. Thompson, 415 U.S. 452, 461 n. 11 (1974).

59.      For the reasons described above, Texas is entitled to a declaration that the Defendants are

violating the law and the Pharmacy Mandate is unlawful, unconstitutional, and unenforceable.

                                       V. PRAYER FOR RELIEF

      Texas respectfully requests that the Court:

      a. Hold unlawful and set aside the Pharmacy Mandate;

      b. Declare the Defendants’ actions unlawful;

      c. Issue a permanent injunction prohibiting Defendants from enforcing the Pharmacy
         Mandate;

      d. Issue a permanent injunction prohibiting Defendants from enforcing the Pharmacy
         Mandate’s interpretation of the discrimination and enforcement provisions of the statutes
         incorporated by reference in Section 1557 of the ACA;

      e. Award Plaintiff costs and reasonable attorneys’ fees;

      f. Award such other relief as the Court deems equitable and just.




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 Dated February 7, 2023.                        Respectfully submitted.

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